Case 2:15-cv-00226-KOB Document 28 Filed 02/06/15 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SUSAN ROMAN, individually and
on behalf of all others similarly

situated,
Plaintiff,
v. | 3:44-CV-01705
: (JUDGE MARIANI)
COMMUNITY HEALTH SYSTEMS, INC., :
and COMMUNITY HEALTH SYSTEMS :
PROFESSIONAL SERVICES,
Defendants.
ORDER

AND NOW, THIS 6TH DAY OF FEBRUARY, 2015, pursuant to a Transfer Order
frome the United States Judicial Panel on Multidistrict Litigation (Doc. 26), IT IS HEREBY
ORDERED THAT:

1. The above-captioned case is transferred to the Norther District of Alabama, as
specified in the Multidistrict Litigation Panel's Order.

2. The Clerk of Court is DIRECTED to close the Middle District of Pennsylvania case.

 

Robert D. Marian!
United States District Judge
